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            IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                8:05CR156
                              )
          v.                  )
                              )
CESAR LIZARRAGA-CASTRO,       )                  ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised defendant wishes to enter a

plea.   Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Thursday, February 2, 2006, at 9:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

          DATED this 31st day of January, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
